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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION

UNITED STATES OF AMERICA,                      :

              Plaintiff,                       :          CASE NO. 1:20-cr-077 (1)

       vs.                                     :          JUDGE BLACK

LARRY HOUSEHOLDER,                             :

              Defendant.                       :

  DEFENDANT LARRY HOUSEHOLDER’S UNOPPOSED MOTION TO CONTINUE

       Defendant Larry Householder, through undersigned counsel, respectfully moves this Court

to continue the arraignment scheduled for August 20, 2020 at 1:30 p.m. Counsel for the United

States of America is not opposed to this request. The reasons in support of this Motion are set

forth in the following Memorandum.

                                                   Respectfully submitted,
                                                   Taft Stettinius & Hollister LLP

                                                   /s/ David H. Thomas
                                                   DAVID H. THOMAS
                                                   Ohio Supreme Court No. 0071492
                                                   P: (614) 334-6199
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                                                   /s/ Kathryn S. Wallrabenstein
                                                   KATHRYN S. WALLRABENSTEIN
                                                   Ohio Supreme Court No. 0092172
                                                   65 East State Street, Suite 1000
                                                   Columbus, Ohio 43215
                                                   P: (614) 220-0238
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                                                   Counsel for Defendant
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                                        MEMORANDUM

       A federal Grand Jury indicted Defendant Larry Householder and five co-defendants on

July 30, 2020. (Doc. 22). An arraignment is currently scheduled for all Defendants for August

6, 2020 at 1:30 p.m. (Doc. 23).

       Defendant Larry Householder was initially charged by way of Complaint on July 21, 2020.

(Doc. 5). Undersigned counsel thereafter entered notices of appearance on his behalf on July 24,

2020. (Docs. 10, 11). After entering their appearances, undersigned counsel became aware of a

conflict of interest. Subsequently, undersigned counsel filed a Motion to Withdraw on August 3,

2020. (Doc. 30). This Motion is still pending before this Court, and this matter was previously

continued from August 6 to allow Mr. Householder to engage new counsel. While he has been

diligently attempting to do so, he has not retained new counsel of the filing date of this motion.

The breadth of the case and complexity of the Government’s allegations make securing competent,

conflict-free counsel exceedingly difficult. Accordingly, an additional continuance is being

requested.

       Defendant understands the Court’s earlier ruling regarding the application of the Speedy

Trial Act, as set forth in 18 USC § 3161, et seq. Out of an abundance of caution, Defendant

submits that this Motion to Continue is not made for the purpose of delaying a speedy resolution of

this case, but rather it is required by the need for Defendant to engage new counsel due to the

conflict of interest identified by undersigned counsel.

       Defendant further submits the factor set forth in 18 USC § 3161 (h)(7)(B)(iv) is present in

this case. A failure to grant this continuance, “would deny the defendant reasonable time to

obtain counsel” or “would unreasonably deny the defendant . . . continuity of counsel.” 18 USC

§ 3161 (h)(7)(B)(iv). Due to the short period of time between the filing of the initial Complaint,



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the filing of the Indictment, and undersigned counsel’s identification of a conflict of interest

leading to the filing of a Motion to Withdraw, undersigned counsel believe and assert that failure

to grant the requested continuance would deny Defendant reasonable time to obtain conflict-free

counsel and continuity of counsel.

       Accordingly,    Defendant’s    Motion    to   Continue   is   justified   under   18   USC

§ 3161(h)(7)(B)(iv).   The Government is unopposed to this request.          Undersigned counsel

respectfully request this Court continue the arraignment currently set in this case for

approximately two weeks.

                                                     Respectfully submitted,
                                                     Taft Stettinius & Hollister LLP

                                                     /s/ David H. Thomas
                                                     DAVID H. THOMAS
                                                     Ohio Supreme Court No. 0071492
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                                                     /s/ Kathryn S. Wallrabenstein
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                                                     Counsel for Defendant




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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing was filed with the Clerk of Court for

the United States District Court for the Southern District of Ohio using the CM/ECF system, which

will send notification of such filing to Assistant U.S. Attorneys Emily Glatfelter and Matthew

Singer, 221 E. Fourth Street, Suite 400, Cincinnati, Ohio 45202, on August 19, 2020, by electronic

mail.

                                                    /s/ David H. Thomas
                                                    DAVID H. THOMAS
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